Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Northwest Renewable Energy Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Arsiero Logging
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  25519 SE 392nd Street
                                  Enumclaw, WA 98022-6826
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-11520-TWD                   Doc 1        Filed 06/18/24           Ent. 06/18/24 16:25:26                Pg. 1 of 55
Debtor    Northwest Renewable Energy Group, LLC                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1133

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11520-TWD                      Doc 1      Filed 06/18/24              Ent. 06/18/24 16:25:26                    Pg. 2 of 55
Debtor    Northwest Renewable Energy Group, LLC                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11520-TWD                            Doc 1      Filed 06/18/24             Ent. 06/18/24 16:25:26                  Pg. 3 of 55
Debtor   Northwest Renewable Energy Group, LLC                                     Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11520-TWD         Doc 1       Filed 06/18/24         Ent. 06/18/24 16:25:26            Pg. 4 of 55
Debtor    Northwest Renewable Energy Group, LLC                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 18, 2024
                                                  MM / DD / YYYY


                             X /s/ B. Michael Malgarini                                                   B. Michael Malgarini
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Thomas A. Buford                                                        Date June 18, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas A. Buford
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      tbuford@bskd.com

                                 WSBA 52969 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11520-TWD                  Doc 1        Filed 06/18/24             Ent. 06/18/24 16:25:26                 Pg. 5 of 55
                                     MEMBER RESOLUTIONS OF
                              NORTHWEST RENEWABLE ENERGY GROUP, LLC


                  WHEREAS, Northwest Renewable Energy Group, LLC, a Washington limited liability
            company (the Company), is experiencing significant financial challenges; and

                 WHEREAS, the undersigned is the managing member of the Company (the Managing
            Member); and

                   WHEREAS, it is the opinion of the Managing Member that the only reasonable and prudent
            response to the Companys financial circumstances is the filing of a voluntary petition in
            bankruptcy seeking protection and reorganization under Chapter 11 of the United States
            Bankruptcy Code, specifically in light of imminent reductions to the debt limits of Subchapter V
            of Chapter 11; and

                   WHEREAS, the Company has selected Turning Point, LLC (Turning Point) to be its
            Financial Advisor to assist the Company with management and financial reporting in connection
            with the Companys Chapter 11 bankruptcy proceeding; and

                   WHEREAS, the Company has selected the law firm of Bush Kornfeld LLP (Bush
            Kornfeld) to represent the Companys interests in the Chapter 11 proceeding.

                   NOW, THEREFORE, the undersigned Managing Member directs to the following action
            by the Company:

                    RESOLVED, that the Company shall employ Bush Kornfeld to represent it in the Chapter
            11 proceedings and shall seek to have that employment approved by the Bankruptcy Court as soon
            as is practicable; and it is

                    RESOLVED, that the Company shall employ Turning Point to assist it in the Chapter 11
            proceedings and shall seek to have that employment approved by the Bankruptcy Court as soon as
            is practicable; and it is

                    FURTHER RESOLVED, that the Company is hereby authorized to retain such other
            professional consultants on such terms of employment as are required in order to act in the best
            interests of the Company in prosecuting the Chapter 11 proceeding; and it is

                    FURTHER RESOLVED, that B. Michael Malgarini is hereby authorized and directed to
            take such steps and execute such documentation as is required in order to effectuate any and all of
            the foregoing; and it is

                  FURTHER RESOLVED, that Bush Kornfeld is hereby authorized and directed to cause
            the Company to file a Chapter 11 bankruptcy.




2788 hf188w01yv
              Case 24-11520-TWD         Doc 1    Filed 06/18/24     Ent. 06/18/24 16:25:26       Pg. 6 of 55
                  SIGNED this 18th day of June, 2024.


                  NORTHWEST RENEWABLE ENERGY GROUP, LLC


                  _____________________________
                  B. Michael Malgarini, Managing Member




2788 hf188w01yv
              Case 24-11520-TWD      Doc 1   Filed 06/18/24   Ent. 06/18/24 16:25:26   Pg. 7 of 55
Fill in this information to identify the case:

Debtor name         Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 18, 2024                   X /s/ B. Michael Malgarini
                                                           Signature of individual signing on behalf of debtor

                                                            B. Michael Malgarini
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 24-11520-TWD                    Doc 1         Filed 06/18/24            Ent. 06/18/24 16:25:26              Pg. 8 of 55
 Fill in this information to identify the case:
 Debtor name Northwest Renewable Energy Group, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Ashe Construction                                                                                                                                               $18,069.53
 PO Box 538
 Randle, WA 98377          Fax 360-497-2029
 CalPortland Co.                                                                                                                                                   $2,182.74
 PO Box 3601
 Seattle, WA
 98124-3601
 Cutters Supply                                                                                                                                                      $264.38
 235 Roosevelt Ave
 Enumclaw, WA
 98022
 DLL Financial                                       2022 LBX 3240 TL                                      $327,690.82               $275,000.00                 $52,690.82
 Servs., Inc.                                        log loader
 1111 Old Eagle            Fax 866-490-0979          SN:
 School Road                                         LBX210Q7NNTLN
 Wayne, PA                                           2390
 19087-1453
 Eagle Carriage &                                                                                                                                                      $94.25
 Machine, Inc.
 62500 Commerce
 Road
 La Grande, OR
 97850
 Ed's Morton Auto                                                                                                                                                    $166.86
 Parts
 184 W Main
 PO Box 670
 Morton, WA 98356
 Ford Motor Credit                                   2021 Ford F-350                                        $65,000.00                 $52,000.00                $13,000.00
 Company                                             SD, Crew Cab
 1 American Road                                     Pickup 4-DR
 Dearborn, MI 48126                                  VIN:
                                                     1FT8W3BT3NEF27
                                                     826




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-11520-TWD               Doc 1         Filed 06/18/24             Ent. 06/18/24 16:25:26                         Pg. 9 of 55
 Debtor    Northwest Renewable Energy Group, LLC                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 General Trailer                                                                                                                                                   $1,072.67
 Parts, LLC                cheryl.brant@gene
 PO Box "G"                raltrailerparts.com
 Springfield, OR
 97477-0067
 George Craft                                                                                                                                                    $32,691.80
 PO Box 1025
 Cle Elum, WA 98922
 Les Schwab Tire                                                                                                                                                   $7,311.59
 Centers                   creditbankruptcy@
 649 Griffin Ave.          lesschwab.com
 Enumclaw, WA
 98022
 Modern Machinery                                                                                                                                                    $367.73
 Co.,Inc.
 P.O. Box 16660
 Missoula, MT
 59808-6660
 Morgan & Son                                                                                              $121,132.36                        $0.00            $121,132.36
 Earthmoving, Inc.         dmorgan1242@fair
 PO Box 999                point.net
 Ellensburg, WA
 98926-1925
 Mountain View Auto                                                                                                                                                $6,258.61
 Supply                    156@outlook.com
 740 Hwy 410 S
 Enumclaw, WA
 98022
 N C Machinery Co.                                                                                                                                                   $611.52
 Harnish Lockbox LB
 1208                      Fax 425-251-5831
 PO Box 35144
 Seattle, WA
 98124-5144
 Pacific Industrial                                                                                                                                                $2,025.61
 Supply Co.                payables@pacificin
 1231 S Director           dustrial.com
 Street
 Seattle, WA
 98108-4802
 Pape' Machinery,                                                              Disputed                                                                          $40,022.37
 Inc.
 PO Box 35144              Fax 206-575-0164
 Seattle, WA
 98124-0140
 Richard Core                                                                                                                                                      $6,150.00
 2179 Cispus Road
 Randle, WA 98377




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-11520-TWD              Doc 1         Filed 06/18/24             Ent. 06/18/24 16:25:26                         Pg. 10 of 55
 Debtor    Northwest Renewable Energy Group, LLC                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Timbered                                                                                                                                                        $29,077.64
 Rangeland Mgmt.           timberedrangeland
 5090 Naneum Road          mgt@gmail.com
 Ellensburg, WA
 98926
 Triad Machinery,                                                                                                                                                    $811.82
 Inc.                      kschirman@triadm
 PO Box 94471              achinery.com
 Seattle, WA
 98124-6771
 WA State Dep't of                                   Motor vehicle                                                                                                 $6,185.75
 Licensing                 legal@dol.wa.gov          license fees
 PO Box 9030               Fax 360-570-4950
 Olympia, WA
 98507-9030




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    Case 24-11520-TWD              Doc 1         Filed 06/18/24             Ent. 06/18/24 16:25:26                         Pg. 11 of 55
Fill in this information to identify the case:

Debtor name           Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,392,164.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,392,164.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,387,986.60


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              6,185.75

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           147,205.63


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           5,541,377.98




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




             Case 24-11520-TWD                                      Doc 1              Filed 06/18/24                         Ent. 06/18/24 16:25:26                             Pg. 12 of 55
Fill in this information to identify the case:

Debtor name         Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Commencement Bank                                 Business Interest
                   1102 Commerce Street, Suite 100                   Checking (Operating
          3.1.     Tacoma, WA 98402                                  Account)                              7503                                    $73,709.00


                   Umpqua Bank                                       Community Business
                   5005 Meadows Road, Suite 400                      Checking (Operating
          3.2.     Lake Oswego, OR 97035-4291                        Account)                              1384                                             $0.00


                   WCLA Credit Union
                   2419 Pacific Avenue SE
          3.3.     Olympia, WA 98501                                 Savings                                                                                $5.00


                   Commencement Bank
                   1102 Commerce Street, Suite 100                   Business Checking
          3.4.     Tacoma, WA 98402                                  (Wire Account)                        5302                                       $500.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $74,214.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1



            Case 24-11520-TWD                     Doc 1     Filed 06/18/24            Ent. 06/18/24 16:25:26                    Pg. 13 of 55
Debtor       Northwest Renewable Energy Group, LLC                                          Case number (If known)
             Name


      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                          0.00      -                                   0.00 = ....                          $0.00
                                      face amount                             doubtful or uncollectible accounts
                                      Accounts Receivable


12.       Total of Part 3.                                                                                                                   $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used      Current value of
                                                                           debtor's interest         for current value          debtor's interest
                                                                           (Where available)

39.       Office furniture
          Desk and Office Chair                                                           $0.00      Debtor Estimate                         $250.00



40.       Office fixtures
          Filing Cabinets                                                                 $0.00      Debtor Estimate                       $1,200.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer; 4 Printers                                                            $0.00      Debtor Estimate                       $2,500.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                            page 2



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Debtor       Northwest Renewable Energy Group, LLC                                          Case number (If known)
             Name




42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $3,950.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2006 Ford Ranger Super Cab, STX
                   Pickup 2-DR 6
                   VIN: 1FTYR15E06PA82346                                                 $0.00     Debtor Estimate                       $4,500.00


          47.2.    2008 Dodge Ram 3500, Crew Cab Pickup
                   4-DR
                   VIN: 3D6WH48A98G181611                                                 $0.00     Debtor Estimate                      $16,000.00


          47.3.    2012 Ford F-250 SD, Crew Cab Pickup
                   4-DR
                   VIN: 1FT7W2B61CEC88256                                                 $0.00     Debtor Estimate                      $13,000.00


          47.4.    2019 Ford F-150, Crew Cab Pickup 4-DR
                   VIN: 1FTFW1E47KFA63302                                                 $0.00     Debtor Estimate                      $17,000.00


          47.5.    2020 Ford F-150, Extended Cab Pickup
                   4-DR
                   VIN: 1FTFX1E41LKD47661                                                 $0.00     Debtor Estimate                      $20,000.00


          47.6.    2021 Ford F-150, Extended Cab Pickup
                   4-DR
                   VIN: 1FTFX1E85MFC81421                                                 $0.00     Debtor Estimate                      $23,500.00


          47.7.    2022 Ford F-150, Extended Cab Pickup
                   4-DR
                   VIN: 1FTEX1EB6NKD51895                                                 $0.00     Debtor Estimate                      $25,000.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3



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            Name



         47.8.   2022 Ford F-150, Extended Cab Pickup
                 4-DR
                 VIN: 1FTEX1EP2NFA72965                                   $0.00    Debtor Estimate             $25,000.00


         47.9.   2022 Ford F-350 SD, Crew Cab Pickup
                 4-DR
                 VIN: 1FT8W3BT3NEF27826                                   $0.00    Debtor Estimate             $52,000.00


         47.10 1998 Kenworth T800 Tandem long
         .     logger
                 VIN: 1NKDXB0X4WR756696                                   $0.00    Debtor Estimate             $85,000.00


         47.11 1990 Kenworth T800, short logger
         .     SN: S547980GL                                              $0.00    Debtor Estimate             $50,000.00


         47.12 2005 Kenworth T800, dump truck
         .     VIN: 1XDPB0X35R085977                                      $0.00    Debtor Estimate            $100,000.00


         47.13 2014 Kenworth T800, lowboy tractor
         .     VIN: 1XKDD40X9ER417683                                     $0.00    Debtor Estimate            $125,000.00


         47.14
         .     [YEAR] Peterbuilt [Model], long logger                     $0.00    Debtor Estimate            $100,000.00


         47.15 1998 Peerless log trailer
         .     VIN: 1PLA02625JWK72010                                     $0.00    Debtor Estimate             $25,000.00


         47.16 1991 General lowboy
         .     VIN: 1G9DAM08XA008026                                      $0.00    Debtor Estimate             $45,000.00


         47.17 1991 General booster
         .     VIN: 1G9SAB021MA008027                                     $0.00    Debtor Estimate              $5,000.00


         47.18 1990 Peerless pup trailer
         .     VIN: 1PLW0443XLW086580                                     $0.00    Debtor Estimate             $25,000.00


         47.19 1978 Peerless belly dump
         .     SN: T783092                                                $0.00    Debtor Estimate             $20,000.00


         47.20 1979 Comet hayrack trailer
         .     SN: 87923554                                               $0.00    Debtor Estimate              $3,000.00


         47.21 1992 Better Weigh trailer
         .     SN: BWM066LM                                               $0.00    Debtor Estimate             $15,000.00


         47.22 1964 homemade trailer
         .     SN: TRLR95097                                              $0.00    Debtor Estimate              $5,000.00



Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                        page 4



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Debtor      Northwest Renewable Energy Group, LLC                                     Case number (If known)
            Name

48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         2015 Kamatsu 931 E
         SN: 1607                                                                   $0.00     Debtor Estimate            $250,000.00


         1998 Valmet 890 Forwarder
         SN: 8909063                                                                $0.00     Debtor Estimate             $25,000.00


         2014 Caterpillar 320 log loader
         SN: GKS00392                                                               $0.00     Debtor Estimate             $85,000.00


         1995 Thunderbird TY-40 Yarder
         SN: Y4147                                                                  $0.00     Debtor Estimate            $160,000.00


         2016 Eagle Raptor Sky Carriage
         SN: R-05-16                                                                $0.00     Debtor Estimate             $35,000.00


         2016 LBX 210X2 log loader
         SN: LBX210Q5NGYTN2441                                                      $0.00     Debtor Estimate             $75,000.00


         2019 Caterpillar 316FL Hydraulic Excavator,
         SN: YDL20878, w/ 1 coupler, 1 thumb, 1 36"
         bucket                                                                     $0.00     Debtor Estimate            $175,000.00


         2002 Caterpillar 160H Motor Grader
         SN: 9EJ01305                                                               $0.00     Debtor Estimate            $100,000.00


         2019 Caterpillar D5K2LGP Track Type Tractor,
         SN: 0KY207521, w/ 1 Caterpillar Ripper                                     $0.00     Debtor Estimate            $135,000.00


         2022 LBX 3240 TL log loader
         SN: LBX210Q7NMTLN2151                                                      $0.00     Debtor Estimate            $275,000.00


         2021 LBX 3740 TLW logger
         SN: LBX250Q7NMTLW1753                                                      $0.00     Debtor Estimate            $550,000.00


         2022 Boman LT9600 Carriage
         SN: 2112LT599                                                              $0.00     Debtor Estimate             $75,000.00


         2022 LBX 3240 TL log loader
         SN: LBX210Q7NNTLN2390                                                      $0.00     Debtor Estimate            $275,000.00


         2022 John Deere 648L-II Grapple Skidder
         SN: 715909                                                                 $0.00     Debtor Estimate            $300,000.00


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                              page 5



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Debtor        Northwest Renewable Energy Group, LLC                                       Case number (If known)
              Name




51.        Total of Part 8.                                                                                                         $3,314,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used     Current value of
           property                              extent of              debtor's interest             for current value         debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Shop building
                    located at 31002 SE
                    Enumclaw Chinook
                    Pass Road,                   Leasehold
                    Enumclaw, WA 98022           Interest                               $0.00                                               Unknown




56.        Total of Part 9.                                                                                                                    $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used      Current value of
                                                                        debtor's interest             for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                page 6



            Case 24-11520-TWD                    Doc 1       Filed 06/18/24           Ent. 06/18/24 16:25:26                  Pg. 18 of 55
Debtor        Northwest Renewable Energy Group, LLC                                        Case number (If known)
              Name



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           U.S. Forest Service timber sale contracts
           (listed on Schedule G)                                                        $0.00                                        Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 7



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Debtor          Northwest Renewable Energy Group, LLC                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $74,214.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $3,950.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $3,314,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,392,164.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,392,164.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 8



             Case 24-11520-TWD                               Doc 1            Filed 06/18/24                   Ent. 06/18/24 16:25:26                 Pg. 20 of 55
Fill in this information to identify the case:

Debtor name         Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bank of Idaho                                Describe debtor's property that is subject to a lien                   $64,877.44                 Unknown
      Creditor's Name                              2008 International Workstar 7500 Fuel Truck,
      135 North Bridge Street                      VIN: 1HTWPAZRX8J645762 (sold); 2021 Ford
      PO Box 126                                   F-150, VIN: 1FTFX1E85MFC81421
      Saint Anthony, ID 83445
      Creditor's mailing address                   Describe the lien
                                                   Security Agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/15/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2882
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Bank of Idaho                                Describe debtor's property that is subject to a lien               $2,106,003.73                  Unknown
      Creditor's Name                              2018 Kaman K-Max K-1200, Registration No.
                                                   N803RA, Serial No. A94-0045 helicopter
                                                   (surrendered) and all other Collateral as
      135 North Bridge Street                      defined in the Commercial Security
      PO Box 126                                   Agreement
      Saint Anthony, ID 83445
      Creditor's mailing address                   Describe the lien
                                                   Security Agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      5/27/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3202

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 10




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Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Bank of Idaho                               Describe debtor's property that is subject to a lien                      $565,501.96       Unknown
      Creditor's Name                             2012 Ford F-250 Pickup Truck, VIN:
                                                  1FT7W2B61CEC88256; 2011 Ford F-350 Crew
                                                  Cab, VIN: 1FT8W3BT1BEA33153; 2006 Ford
      135 North Bridge Street                     Ranger Super Cab, STX Pickup, VIN:
      PO Box 126                                  1FTYR15E06PA82346
      Saint Anthony, ID 83445
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/27/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3210
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Bank of Idaho                               Describe debtor's property that is subject to a lien                      $328,461.09       Unknown
      Creditor's Name                             All Chattel Paper, Accounts and General
                                                  Intangibles, including assignment of
                                                  receivables, and all other Collateral as
      135 North Bridge Street                     defined in the Commercial Security
      PO Box 126                                  Agreement
      Saint Anthony, ID 83445
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/27/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3228
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Bank of Idaho                               Describe debtor's property that is subject to a lien                       $69,021.52     $100,000.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 10




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Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

      Creditor's Name                             2005 Kenworth T800, dump truck
      135 North Bridge Street                     VIN: 1XDPB0X35R085977
      PO Box 126
      Saint Anthony, ID 83445
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/08/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2484
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   DLL Financial Servs., Inc.                  Describe debtor's property that is subject to a lien                      $263,106.58     $275,000.00
      Creditor's Name                             2022 LBX 3240 TL log loader
      1111 Old Eagle School                       SN: LBX210Q7NMTLN2151
      Road
      Wayne, PA 19087-1453
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/02/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4593
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   DLL Financial Servs., Inc.                  Describe debtor's property that is subject to a lien                      $429,213.10     $550,000.00
      Creditor's Name                             2021 LBX 3740 TLW logger
      1111 Old Eagle School                       SN: LBX250Q7NMTLW1753
      Road
      Wayne, PA 19087-1453
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/14/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4596


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 10




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Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   DLL Financial Servs., Inc.                  Describe debtor's property that is subject to a lien                      $327,690.82     $275,000.00
      Creditor's Name                             2022 LBX 3240 TL log loader
      1111 Old Eagle School                       SN: LBX210Q7NNTLN2390
      Road
      Wayne, PA 19087-1453
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/28/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1279
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Ford Motor Credit
2.9                                                                                                                          $65,000.00      $52,000.00
      Company                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             2021 Ford F-350 SD, Crew Cab Pickup 4-DR
                                                  VIN: 1FT8W3BT3NEF27826
      1 American Road
      Dearborn, MI 48126
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     Forward Financing LLC                       Describe debtor's property that is subject to a lien                       $27,565.65       Unknown
      Creditor's Name                             Future Receipts as defined in the Future
                                                  Receipts Sale Agreement
      53 State Street, 20th Floor
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 10




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Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

                                                  Future Receipts Sale Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/02/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
1     Headway Capital, LLC                        Describe debtor's property that is subject to a lien                       $94,721.11       Unknown
      Creditor's Name                             All Collateral as defined in the Security
      Attn: Bankruptcy Notice                     Agreement
      175 W Jackson Blvd, Ste.
      1000
      Chicago, IL 60604
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/08/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3284
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
2     John Deere Construction                     Describe debtor's property that is subject to a lien                      $266,320.31     $300,000.00
      Creditor's Name                             2022 John Deere 648L-II Grapple Skidder
       & Forestry Company                         SN: 715909
      6400 NW 86th Street
      Johnston, IA 50131-6600
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/04/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5810
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 10




            Case 24-11520-TWD                        Doc 1          Filed 06/18/24                Ent. 06/18/24 16:25:26             Pg. 25 of 55
Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
3     Kapitus LLC                                 Describe debtor's property that is subject to a lien                      $143,146.83      Unknown
      Creditor's Name                             All Receivables, Inventory, Equipment,
                                                  Intangibles, Investments, Cash, UCC Article 9
                                                  Items, and Collateral as defined in the
      2500 Wilson Blvd., Ste. 350                 Security Agreement
      Arlington, VA 22201
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/08/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1641
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
4     Kapitus LLC                                 Describe debtor's property that is subject to a lien                       $37,994.62      Unknown
      Creditor's Name                             All Receivables, Inventory, Equipment,
                                                  Intangibles, Investments, Cash, UCC Article 9
                                                  Items, and Collateral as defined in the
      2500 Wilson Blvd., Ste. 350                 Security Agreement
      Arlington, VA 22201
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/03/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6221
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
                                                     Disputed
      priority.



2.1   Morgan & Son
5     Earthmoving, Inc.                           Describe debtor's property that is subject to a lien                      $121,132.36             $0.00
      Creditor's Name                             Transported harvested logs
      PO Box 999
      Ellensburg, WA 98926-1925

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 6 of 10




            Case 24-11520-TWD                        Doc 1          Filed 06/18/24                Ent. 06/18/24 16:25:26             Pg. 26 of 55
Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
      dmorgan1242@fairpoint.ne                    Is the creditor an insider or related party?
      t                                              No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     N C Machinery Co.                           Describe debtor's property that is subject to a lien                      $92,446.17     $175,000.00
      Creditor's Name                             2019 Caterpillar 316FL Hydraulic Excavator,
      17035 West Valley Hwy.                      SN: YDL20878, w/ 1 coupler, 1 thumb, 1 36"
      PO Box 3562                                 bucket
      Tukwila, WA 98188
      Creditor's mailing address                  Describe the lien
                                                  Installment Sale Contract
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/18/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4524
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     N C Machinery Co.                           Describe debtor's property that is subject to a lien                      $77,163.67     $135,000.00
      Creditor's Name                             2019 Caterpillar D5K2LGP Track Type
      17035 West Valley Hwy.                      Tractor, SN: 0KY207521, w/ 1 Caterpillar
      PO Box 3562                                 Ripper
      Tukwila, WA 98188
      Creditor's mailing address                  Describe the lien
                                                  Installment Sale Contract
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/08/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5769
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 7 of 10




            Case 24-11520-TWD                        Doc 1          Filed 06/18/24                Ent. 06/18/24 16:25:26            Pg. 27 of 55
Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
8     USDA Forest Service                         Describe debtor's property that is subject to a lien                       $74,171.54      Unknown
      Creditor's Name                             Timber proceeds
      Mt Baker-Snoqualmie Nat'l
      Frst
      Attn: John Magura
      2930 Wetmore Ave., Suite
      3A
      Everett, WA 98201
      Creditor's mailing address                  Describe the lien
                                                  Stumpage Lien under RCW 60.24.035
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
9     USDA Forest Service                         Describe debtor's property that is subject to a lien                            $0.00      Unknown
      Creditor's Name                             Timber proceeds
      Okanogan-Wenatchee Nat'l
      Frst
      Attn: Nate Standish
      215 Melody Lane
      Wenatchee, WA 98801
      Creditor's mailing address                  Describe the lien
                                                  Stumpage Lien under RCW 60.24.035
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
0     WCLA Credit Union                           Describe debtor's property that is subject to a lien                      $234,448.10      Unknown


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            Case 24-11520-TWD                        Doc 1          Filed 06/18/24                Ent. 06/18/24 16:25:26             Pg. 28 of 55
Debtor      Northwest Renewable Energy Group, LLC                                                  Case number (if known)
            Name

      Creditor's Name                             1998 Valmet 890 Forwarder, SN: 8909063;
                                                  2022 Boman LT9600 Carriage, SN:
                                                  2112LT599; Various vehicles, lowboy tractor,
                                                  log truck, and trailer as set forth in
                                                  Promissory Note and Description of
      PO Box 207                                  Collateral.
      Olympia, WA 98507-0207
      Creditor's mailing address                  Describe the lien
                                                  Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/19/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4818
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                            $5,387,986.6
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        0

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Bank of Idaho
       PO Box 1487                                                                                          Line   2.1
       Idaho Falls, ID 83403-1487

       Bank of Idaho
       399 North Capital Avenue                                                                             Line   2.1
       Idaho Falls, ID 83402

       Bank of Idaho
       399 North Capital Avenue                                                                             Line   2.2
       Idaho Falls, ID 83402

       Bank of Idaho
       PO Box 1487                                                                                          Line   2.2
       Idaho Falls, ID 83403-1487

       Bank of Idaho
       PO Box 1487                                                                                          Line   2.3
       Idaho Falls, ID 83403-1487

       Bank of Idaho
       399 North Capital Avenue                                                                             Line   2.3
       Idaho Falls, ID 83402

       Bank of Idaho
       PO Box 1487                                                                                          Line   2.4
       Idaho Falls, ID 83403-1487

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 9 of 10




            Case 24-11520-TWD                        Doc 1          Filed 06/18/24                Ent. 06/18/24 16:25:26              Pg. 29 of 55
Debtor    Northwest Renewable Energy Group, LLC                             Case number (if known)
          Name


      Bank of Idaho
      399 North Capital Avenue                                                      Line   2.4
      Idaho Falls, ID 83402

      Bank of Idaho
      399 North Capital Avenue                                                      Line   2.5
      Idaho Falls, ID 83402

      Bank of Idaho
      PO Box 1487                                                                   Line   2.5
      Idaho Falls, ID 83403-1487

      Caterpillar Financial Services
      PO Box 340001                                                                 Line   2.16
      Nashville, TN 37203-0001

      Caterpillar Financial Services
      PO Box 100647                                                                 Line   2.16
      Pasadena, CA 91189-0647

      Caterpillar Financial Services
      PO Box 340001                                                                 Line   2.17
      Nashville, TN 37203-0001

      Caterpillar Financial Services
      PO Box 100647                                                                 Line   2.17
      Pasadena, CA 91189-0647

      John Deere Construction
      & Forestry Company                                                            Line   2.12
      1 John Deere Place
      Moline, IL 61265-8010

      Kapitus Servicing, Inc.
      2500 Wilson Blvd., Ste. 350                                                   Line   2.13
      Arlington, VA 22201

      Kapitus Servicing, Inc.
      2500 Wilson Blvd., Ste. 350                                                   Line   2.14
      Arlington, VA 22201

      Morgan & Son Earthmoving, Inc.
      6711 Reecer Creek Rd.                                                         Line   2.15
      Ellensburg, WA 98926

      USDA Forest Service
      Mt Baker-Snoqualmie Nat'l Frst                                                Line   2.18
      Attn: John Magura
      1000 SE Everett Mall Way
      Everett, WA 98208

      WCLA Credit Union
      2419 Pacific Avenue SE                                                        Line   2.20
      Olympia, WA 98501




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property             page 10 of 10




          Case 24-11520-TWD            Doc 1       Filed 06/18/24        Ent. 06/18/24 16:25:26         Pg. 30 of 55
Fill in this information to identify the case:

Debtor name        Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          City of Enumclaw                                    Check all that apply.
          Attn: Legal                                            Contingent
          1339 Griffin Avenue                                    Unliquidated
          Enumclaw, WA 98022                                     Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              B&O taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency Ops.                            Contingent
          PO Box 7346                                            Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Federal income taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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Debtor       Northwest Renewable Energy Group, LLC                                                      Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          King County Treasury Ops.                            Check all that apply.
          King Street Center                                      Contingent
          201 S Jackson Street, #710                              Unliquidated
          Seattle, WA 98104                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Personal property taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          WA Dep't of Labor & Indus.                           Check all that apply.
          PO Box 44000                                            Contingent
          Olympia, WA 98504-4000                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $6,185.75         $0.00
          WA State Dep't of Licensing                          Check all that apply.
          PO Box 9030                                             Contingent
          Olympia, WA 98507-9030                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Motor vehicle license fees
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          WA State Dep't of Revenue                            Check all that apply.
          Bankruptcy/Claims Unit                                  Contingent
          2101 Fourth Avenue, Suite 1400                          Unliquidated
          Seattle, WA 98121-2300                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               State B&O and sales and use taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 7




             Case 24-11520-TWD                       Doc 1          Filed 06/18/24                  Ent. 06/18/24 16:25:26                  Pg. 32 of 55
Debtor      Northwest Renewable Energy Group, LLC                                           Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $18,069.53
         Ashe Construction                                            Contingent
         PO Box 538                                                   Unliquidated
         Randle, WA 98377                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Boman Industries, Inc.                                       Contingent
         2470 Ewald Ave SE                                            Unliquidated
         Salem, OR 97302                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,182.74
         CalPortland Co.                                              Contingent
         PO Box 3601                                                  Unliquidated
         Seattle, WA 98124-3601                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $264.38
         Cutters Supply                                               Contingent
         235 Roosevelt Ave                                            Unliquidated
         Enumclaw, WA 98022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $94.25
         Eagle Carriage & Machine, Inc.                               Contingent
         62500 Commerce Road                                          Unliquidated
         La Grande, OR 97850                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $166.86
         Ed's Morton Auto Parts                                       Contingent
         184 W Main                                                   Unliquidated
         PO Box 670                                                   Disputed
         Morton, WA 98356
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,072.67
         General Trailer Parts, LLC                                   Contingent
         PO Box "G"                                                   Unliquidated
         Springfield, OR 97477-0067                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Northwest Renewable Energy Group, LLC                                           Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $32,691.80
         George Craft                                                 Contingent
         PO Box 1025                                                  Unliquidated
         Cle Elum, WA 98922                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $7,311.59
         Les Schwab Tire Centers                                      Contingent
         649 Griffin Ave.                                             Unliquidated
         Enumclaw, WA 98022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Lexon Insurance Company                                      Contingent
         PO Box 947805                                                Unliquidated
         Atlanta, GA 30394-7805                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Lisa, Inc.                                                   Contingent
         400 Valley Avenue NE                                         Unliquidated
         Puyallup, WA 98372-2516                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $367.73
         Modern Machinery Co.,Inc.                                    Contingent
         P.O. Box 16660                                               Unliquidated
         Missoula, MT 59808-6660                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,258.61
         Mountain View Auto Supply                                    Contingent
         740 Hwy 410 S                                                Unliquidated
         Enumclaw, WA 98022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $611.52
         N C Machinery Co.                                            Contingent
         Harnish Lockbox LB 1208                                      Unliquidated
         PO Box 35144                                                 Disputed
         Seattle, WA 98124-5144
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 7




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Debtor      Northwest Renewable Energy Group, LLC                                           Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,025.61
         Pacific Industrial Supply Co.                                Contingent
         1231 S Director Street                                       Unliquidated
         Seattle, WA 98108-4802                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Pacific Rim Log Scaling                                      Contingent
         8288 28th Ct NE                                              Unliquidated
         Lacey, WA 98516-7159                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $26.51
         Pape Kenworth Northwest                                      Contingent
         20220 International Blvd. S.                                 Unliquidated
         SeaTac, WA 98198                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $40,022.37
         Pape' Machinery, Inc.                                        Contingent
         PO Box 35144                                                 Unliquidated
         Seattle, WA 98124-0140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                     $0.00
         Performance Sys. Integration                                 Contingent
         PO Box 8528                                                  Unliquidated
         Pasadena, CA 91109-8601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,150.00
         Richard Core                                                 Contingent
         2179 Cispus Road                                             Unliquidated
         Randle, WA 98377                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $29,077.64
         Timbered Rangeland Mgmt.                                     Contingent
         5090 Naneum Road                                             Unliquidated
         Ellensburg, WA 98926                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 7




            Case 24-11520-TWD                   Doc 1       Filed 06/18/24               Ent. 06/18/24 16:25:26                          Pg. 35 of 55
Debtor       Northwest Renewable Energy Group, LLC                                                  Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $811.82
          Triad Machinery, Inc.                                                Contingent
          PO Box 94471                                                         Unliquidated
          Seattle, WA 98124-6771                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Ashe Construction
          114 Monterey Drive                                                                        Line     3.1
          Kelso, WA 98626-1920
                                                                                                           Not listed. Explain

4.2       CalPortland Co.
          2025 E Financial Way                                                                      Line     3.3
          Glendora, CA 91741
                                                                                                           Not listed. Explain

4.3       Les Schwab Tire Centers
          PO Box 5350                                                                               Line     3.9
          Bend, OR 97708-5350
                                                                                                           Not listed. Explain

4.4       Modern Machinery Co.,Inc.
          22431 83rd Avenue S                                                                       Line     3.12
          Kent, WA 98032-1989
                                                                                                           Not listed. Explain

4.5       Mountain View Auto Supply
          27644 238th Ave. SE                                                                       Line     3.13
          Maple Valley, WA 98038
                                                                                                           Not listed. Explain

4.6       N C Machinery Co.
          17035 West Valley Hwy.                                                                    Line     3.14
          2nd Floor
                                                                                                           Not listed. Explain
          Tukwila, WA 98188-5519

4.7       Pape' Machinery, Inc.
          3607 20th Street E                                                                        Line     3.18
          Fife, WA 98424-1704
                                                                                                           Not listed. Explain

4.8       Pape' Machinery, Inc.
          355 Goodpasture Island Road                                                               Line     3.18
          Suite 300
                                                                                                           Not listed. Explain
          Eugene, OR 97401-2199

4.9       Performance Sys. Integration
          7324 SW Durham Road                                                                       Line     3.19
          Portland, OR 97224-7307
                                                                                                           Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 7




            Case 24-11520-TWD                        Doc 1         Filed 06/18/24                Ent. 06/18/24 16:25:26                          Pg. 36 of 55
Debtor      Northwest Renewable Energy Group, LLC                                       Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.10      Timbered Rangeland Mgmt.
          3760 Vantage Hwy.                                                            Line     3.21
          Ellensburg, WA 98926-9079
                                                                                              Not listed. Explain

4.11      Triad Machinery, Inc.
          1601 Bay Street                                                              Line     3.22
          Tacoma, WA 98421-2613
                                                                                              Not listed. Explain

4.12      Triad Machinery, Inc.
          18200 NE Riverside Pkwy.                                                     Line     3.22
          Portland, OR 97230-5178
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                      6,185.75
5b. Total claims from Part 2                                                              5b.    +     $                    147,205.63

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      153,391.38




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 7




            Case 24-11520-TWD                   Doc 1         Filed 06/18/24         Ent. 06/18/24 16:25:26                      Pg. 37 of 55
Fill in this information to identify the case:

Debtor name       Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for shop
           lease is for and the nature of        premises located at
           the debtor's interest                 31002 SE
                                                 Enumclaw-Chinook
                                                 Pass Hwy., Enumclaw,
                                                 Washington.
               State the term remaining          12/31/2024
                                                                                    Lisa, Inc.
           List the contract number of any                                          400 Valley Avenue NE
                 government contract                                                Puyallup, WA 98372-2516


2.2.       State what the contract or            Timber Sale Contract -
           lease is for and the nature of        Cabin SBA DxP
           the debtor's interest

               State the term remaining          10/31/2025
                                                                                    United States Forest Service
           List the contract number of any                                          1400 Independence Ave. SW
                 government contract                                                Washington, DC 20250-0003


2.3.       State what the contract or            Timber Sale Contract -
           lease is for and the nature of        Cora Thin Reoffer
           the debtor's interest

               State the term remaining          12/31/2024
                                                                                    United States Forest Service
           List the contract number of any                                          1400 Independence Ave. SW
                 government contract                                                Washington, DC 20250-0003


2.4.       State what the contract or            Timber Sale Contract -
           lease is for and the nature of        Midnight Thin DxP SBA
           the debtor's interest

               State the term remaining          12/31/2026
                                                                                    United States Forest Service
           List the contract number of any                                          1400 Independence Ave. SW
                 government contract                                                Washington, DC 20250-0003


Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 3




           Case 24-11520-TWD                     Doc 1        Filed 06/18/24            Ent. 06/18/24 16:25:26                  Pg. 38 of 55
Debtor 1 Northwest Renewable Energy Group, LLC                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Soldier Thin
          the debtor's interest

             State the term remaining       9/30/2027
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003


2.6.      State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Watch Thin
          the debtor's interest

             State the term remaining       3/31/2027
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003


2.7.      State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Willie Thin SBA Reoffer
          the debtor's interest

             State the term remaining       9/30/2026
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003


2.8.      State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Catt Thin Reoffer
          the debtor's interest

             State the term remaining       12/31/2023
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003


2.9.      State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Haller DxP Stewardship
          the debtor's interest

             State the term remaining       12/31/2025
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 3




          Case 24-11520-TWD                 Doc 1       Filed 06/18/24      Ent. 06/18/24 16:25:26          Pg. 39 of 55
Debtor 1 Northwest Renewable Energy Group, LLC                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.10.     State what the contract or        Timber Sale Contract -
          lease is for and the nature of    Taneum DxP Timber
          the debtor's interest             Sale

             State the term remaining       9/30/2026
                                                                         United States Forest Service
          List the contract number of any                                1400 Independence Ave. SW
                government contract                                      Washington, DC 20250-0003




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 3




          Case 24-11520-TWD                 Doc 1       Filed 06/18/24      Ent. 06/18/24 16:25:26          Pg. 40 of 55
Fill in this information to identify the case:

Debtor name      Northwest Renewable Energy Group, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Arsiero Air, LLC            3510 Delaware Avenue                                      Bank of Idaho                      D   2.2
                                      Idaho Falls, ID 83404                                                                        E/F
                                                                                                                                   G




   2.2    Arsiero Air, LLC            3510 Delaware Avenue                                      Bank of Idaho                      D   2.3
                                      Idaho Falls, ID 83404                                                                        E/F
                                                                                                                                   G




   2.3    Arsiero Air, LLC            3510 Delaware Avenue                                      Bank of Idaho                      D   2.4
                                      Idaho Falls, ID 83404                                                                        E/F
                                                                                                                                   G




   2.4    B. Michael                  25519 SE 392nd Street                                     Headway Capital,                   D   2.11
          Malgarini                   Enumclaw, WA 98022-6826                                   LLC                                E/F
                                                                                                                                   G




   2.5    B. Michael                  25519 SE 392nd Street                                     Kapitus LLC                        D   2.13
          Malgarini                   Enumclaw, WA 98022-6826                                                                      E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 4



          Case 24-11520-TWD                      Doc 1     Filed 06/18/24           Ent. 06/18/24 16:25:26                 Pg. 41 of 55
Debtor    Northwest Renewable Energy Group, LLC                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     B. Michael               25519 SE 392nd Street                               Kapitus LLC                        D   2.14
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.7     B. Michael               25519 SE 392nd Street                               Forward Financing                  D   2.10
          Malgarini                Enumclaw, WA 98022-6826                             LLC                                E/F
                                                                                                                          G




  2.8     B. Michael               25519 SE 392nd Street                               DLL Financial Servs.,              D   2.6
          Malgarini                Enumclaw, WA 98022-6826                             Inc.                               E/F
                                                                                                                          G




  2.9     B. Michael               25519 SE 392nd Street                               DLL Financial Servs.,              D   2.7
          Malgarini                Enumclaw, WA 98022-6826                             Inc.                               E/F
                                                                                                                          G




  2.10    B. Michael               25519 SE 392nd Street                               DLL Financial Servs.,              D   2.8
          Malgarini                Enumclaw, WA 98022-6826                             Inc.                               E/F
                                                                                                                          G




  2.11    B. Michael               25519 SE 392nd Street                               Bank of Idaho                      D   2.1
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.12    B. Michael               25519 SE 392nd Street                               Bank of Idaho                      D   2.2
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.13    B. Michael               25519 SE 392nd Street                               Bank of Idaho                      D   2.3
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 4



          Case 24-11520-TWD               Doc 1       Filed 06/18/24         Ent. 06/18/24 16:25:26            Pg. 42 of 55
Debtor    Northwest Renewable Energy Group, LLC                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    B. Michael               25519 SE 392nd Street                               Bank of Idaho                      D   2.4
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.15    B. Michael               25519 SE 392nd Street                               Bank of Idaho                      D   2.5
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.16    Bonnie J.                25519 SE 392nd Street                               Bank of Idaho                      D   2.2
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.17    Bonnie J.                25519 SE 392nd Street                               Bank of Idaho                      D   2.3
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.18    Bonnie J.                25519 SE 392nd Street                               Bank of Idaho                      D   2.4
          Malgarini                Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.19    Erosion Ctrl.            25519 SE 392nd Street                               Bank of Idaho                      D   2.2
          Innovations LLC          Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.20    Erosion Ctrl.            25519 SE 392nd Street                               Bank of Idaho                      D   2.3
          Innovations LLC          Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




  2.21    Erosion Ctrl.            25519 SE 392nd Street                               Bank of Idaho                      D   2.4
          Innovations LLC          Enumclaw, WA 98022-6826                                                                E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 4



          Case 24-11520-TWD               Doc 1       Filed 06/18/24         Ent. 06/18/24 16:25:26            Pg. 43 of 55
Debtor    Northwest Renewable Energy Group, LLC                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 4 of 4



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                                                      United States Bankruptcy Court
                                                           Western District of Washington
 In re    Northwest Renewable Energy Group, LLC                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
B. Michael Malgarini                                                              100%                                       Membership
25519 SE 392nd Street
Enumclaw, WA 98022-6826


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date June 18, 2024                                                       Signature /s/ B. Michael Malgarini
                                                                                        B. Michael Malgarini

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           Case 24-11520-TWD                     Doc 1         Filed 06/18/24               Ent. 06/18/24 16:25:26                    Pg. 45 of 55
                                              United States Bankruptcy Court
                                                  Western District of Washington
 In re   Northwest Renewable Energy Group, LLC                                                 Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    June 18, 2024                                 /s/ B. Michael Malgarini
                                                       B. Michael Malgarini/Managing Member
                                                       Signer/Title




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                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART ST #5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        THOMAS A. BUFORD
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        NORTHWEST RENEWABLE ENERGY GROUP, LLC
                        25519 SE 392ND STREET
                        ENUMCLAW, WA 98022-6826




    Case 24-11520-TWD   Doc 1   Filed 06/18/24   Ent. 06/18/24 16:25:26   Pg. 47 of 55
                    UNITED STATES OF AMERICA
                    INTERNAL REVENUE SERVICE
                    915 SECOND AVE.
                    SEATTLE, WA 98174


                    ATTORNEY GENERAL OF THE
                     UNITED STATES
                    US DEPARTMENT OF JUSTICE
                    950 PENNSYLVANIA AVE. NW
                    WASHINGTON, DC 20530-0001


                    U.S. SMALL BUSINESS ADMIN.
                    510 L STREET
                    ROOM 310
                    ANCHORAGE, AK 99501


                    U.S. SMALL BUSINESS ADMIN
                    LEGAL DEPT.
                    2401 FOURTH AVE. #400
                    SEATTLE, WA 98121


                    ARSIERO AIR, LLC
                    3510 DELAWARE AVENUE
                    IDAHO FALLS, ID 83404


                    ASHE CONSTRUCTION
                    PO BOX 538
                    RANDLE, WA 98377


                    ASHE CONSTRUCTION
                    114 MONTEREY DRIVE
                    KELSO, WA 98626-1920


                    B. MICHAEL MALGARINI
                    25519 SE 392ND STREET
                    ENUMCLAW, WA 98022-6826


                    BANK OF IDAHO
                    135 NORTH BRIDGE STREET
                    PO BOX 126
                    SAINT ANTHONY, ID 83445


                    BANK OF IDAHO
                    PO BOX 1487
                    IDAHO FALLS, ID 83403-1487



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                    BANK OF IDAHO
                    399 NORTH CAPITAL AVENUE
                    IDAHO FALLS, ID 83402


                    BOMAN INDUSTRIES, INC.
                    2470 EWALD AVE SE
                    SALEM, OR 97302


                    BONNIE J. MALGARINI
                    25519 SE 392ND STREET
                    ENUMCLAW, WA 98022-6826


                    CALPORTLAND CO.
                    PO BOX 3601
                    SEATTLE, WA 98124-3601


                    CALPORTLAND CO.
                    2025 E FINANCIAL WAY
                    GLENDORA, CA 91741


                    CATERPILLAR FINANCIAL SERVICES
                    PO BOX 340001
                    NASHVILLE, TN 37203-0001


                    CATERPILLAR FINANCIAL SERVICES
                    PO BOX 100647
                    PASADENA, CA 91189-0647


                    CITY OF ENUMCLAW
                    ATTN: LEGAL
                    1339 GRIFFIN AVENUE
                    ENUMCLAW, WA 98022


                    COMMENCEMENT BANK
                    1102 COMMERCE STREET, STE. 100
                    TACOMA, WA 98402


                    CUTTERS SUPPLY
                    235 ROOSEVELT AVE
                    ENUMCLAW, WA 98022


                    DLL FINANCIAL SERVS., INC.
                    1111 OLD EAGLE SCHOOL ROAD
                    WAYNE, PA 19087-1453



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                    EAGLE CARRIAGE & MACHINE, INC.
                    62500 COMMERCE ROAD
                    LA GRANDE, OR 97850


                    ED'S MORTON AUTO PARTS
                    184 W MAIN
                    PO BOX 670
                    MORTON, WA 98356


                    EROSION CTRL. INNOVATIONS LLC
                    25519 SE 392ND STREET
                    ENUMCLAW, WA 98022-6826


                    FORD MOTOR CREDIT COMPANY
                    1 AMERICAN ROAD
                    DEARBORN, MI 48126


                    FORWARD FINANCING LLC
                    53 STATE STREET, 20TH FLOOR
                    BOSTON, MA 02109


                    GENERAL TRAILER PARTS, LLC
                    PO BOX "G"
                    SPRINGFIELD, OR 97477-0067


                    GEORGE CRAFT
                    PO BOX 1025
                    CLE ELUM, WA 98922


                    HEADWAY CAPITAL, LLC
                    ATTN: BANKRUPTCY NOTICE
                    175 W JACKSON BLVD, STE. 1000
                    CHICAGO, IL 60604


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPS.
                    PO BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    JOHN DEERE CONSTRUCTION
                      & FORESTRY COMPANY
                    6400 NW 86TH STREET
                    JOHNSTON, IA 50131-6600




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                    JOHN DEERE CONSTRUCTION
                      & FORESTRY COMPANY
                    1 JOHN DEERE PLACE
                    MOLINE, IL 61265-8010


                    KAPITUS LLC
                    2500 WILSON BLVD., STE. 350
                    ARLINGTON, VA 22201


                    KAPITUS SERVICING, INC.
                    2500 WILSON BLVD., STE. 350
                    ARLINGTON, VA 22201


                    KING COUNTY TREASURY OPS.
                    KING STREET CENTER
                    201 S JACKSON STREET, #710
                    SEATTLE, WA 98104


                    LES SCHWAB TIRE CENTERS
                    649 GRIFFIN AVE.
                    ENUMCLAW, WA 98022


                    LES SCHWAB TIRE CENTERS
                    PO BOX 5350
                    BEND, OR 97708-5350


                    LEXON INSURANCE COMPANY
                    PO BOX 947805
                    ATLANTA, GA 30394-7805


                    LISA, INC.
                    400 VALLEY AVENUE NE
                    PUYALLUP, WA 98372-2516


                    MODERN MACHINERY CO.,INC.
                    P.O. BOX 16660
                    MISSOULA, MT 59808-6660


                    MODERN MACHINERY CO.,INC.
                    22431 83RD AVENUE S
                    KENT, WA 98032-1989


                    MORGAN & SON EARTHMOVING, INC.
                    PO BOX 999
                    ELLENSBURG, WA 98926-1925


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                    MORGAN & SON EARTHMOVING, INC.
                    6711 REECER CREEK RD.
                    ELLENSBURG, WA 98926


                    MOUNTAIN VIEW AUTO SUPPLY
                    740 HWY 410 S
                    ENUMCLAW, WA 98022


                    MOUNTAIN VIEW AUTO SUPPLY
                    27644 238TH AVE. SE
                    MAPLE VALLEY, WA 98038


                    N C MACHINERY CO.
                    HARNISH LOCKBOX LB 1208
                    PO BOX 35144
                    SEATTLE, WA 98124-5144


                    N C MACHINERY CO.
                    17035 WEST VALLEY HWY.
                    PO BOX 3562
                    TUKWILA, WA 98188


                    N C MACHINERY CO.
                    17035 WEST VALLEY HWY.
                    2ND FLOOR
                    TUKWILA, WA 98188-5519


                    PACIFIC INDUSTRIAL SUPPLY CO.
                    1231 S DIRECTOR STREET
                    SEATTLE, WA 98108-4802


                    PACIFIC RIM LOG SCALING
                    8288 28TH CT NE
                    LACEY, WA 98516-7159


                    PAPE KENWORTH NORTHWEST
                    20220 INTERNATIONAL BLVD. S.
                    SEATAC, WA 98198


                    PAPE' MACHINERY, INC.
                    PO BOX 35144
                    SEATTLE, WA 98124-0140




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                    PAPE' MACHINERY, INC.
                    3607 20TH STREET E
                    FIFE, WA 98424-1704


                    PAPE' MACHINERY, INC.
                    355 GOODPASTURE ISLAND ROAD
                    SUITE 300
                    EUGENE, OR 97401-2199


                    PERFORMANCE SYS. INTEGRATION
                    PO BOX 8528
                    PASADENA, CA 91109-8601


                    PERFORMANCE SYS. INTEGRATION
                    7324 SW DURHAM ROAD
                    PORTLAND, OR 97224-7307


                    RICHARD CORE
                    2179 CISPUS ROAD
                    RANDLE, WA 98377


                    TIMBERED RANGELAND MGMT.
                    5090 NANEUM ROAD
                    ELLENSBURG, WA 98926


                    TIMBERED RANGELAND MGMT.
                    3760 VANTAGE HWY.
                    ELLENSBURG, WA 98926-9079


                    TRIAD MACHINERY, INC.
                    PO BOX 94471
                    SEATTLE, WA 98124-6771


                    TRIAD MACHINERY, INC.
                    1601 BAY STREET
                    TACOMA, WA 98421-2613


                    TRIAD MACHINERY, INC.
                    18200 NE RIVERSIDE PKWY.
                    PORTLAND, OR 97230-5178


                    UMPQUA BANK
                    5005 MEADOWS ROAD, STE. 400
                    LAKE OSWEGO, OR 97035-4291



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                    UNITED STATES FOREST SERVICE
                    1400 INDEPENDENCE AVE. SW
                    WASHINGTON, DC 20250-0003


                    USDA FOREST SERVICE
                    MT BAKER-SNOQUALMIE NAT'L FRST
                    ATTN: JOHN MAGURA
                    2930 WETMORE AVE., SUITE 3A
                    EVERETT, WA 98201


                    USDA FOREST SERVICE
                    OKANOGAN-WENATCHEE NAT'L FRST
                    ATTN: NATE STANDISH
                    215 MELODY LANE
                    WENATCHEE, WA 98801


                    USDA FOREST SERVICE
                    MT BAKER-SNOQUALMIE NAT'L FRST
                    ATTN: JOHN MAGURA
                    1000 SE EVERETT MALL WAY
                    EVERETT, WA 98208


                    WA DEP'T OF LABOR & INDUS.
                    PO BOX 44000
                    OLYMPIA, WA 98504-4000


                    WA STATE DEP'T OF LICENSING
                    PO BOX 9030
                    OLYMPIA, WA 98507-9030


                    WA STATE DEP'T OF REVENUE
                    BANKRUPTCY/CLAIMS UNIT
                    2101 FOURTH AVENUE, SUITE 1400
                    SEATTLE, WA 98121-2300


                    WCLA CREDIT UNION
                    PO BOX 207
                    OLYMPIA, WA 98507-0207


                    WCLA CREDIT UNION
                    2419 PACIFIC AVENUE SE
                    OLYMPIA, WA 98501


                    WCLA INSURANCE AGENCY
                    PO BOX 2168
                    OLYMPIA, WA 98507


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                                          United States Bankruptcy Court
                                              Western District of Washington
 In re   Northwest Renewable Energy Group, LLC                                         Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Northwest Renewable Energy Group, LLC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




June 18, 2024                                    /s/ Thomas A. Buford
Date                                             Thomas A. Buford
                                                 Signature of Attorney or Litigant
                                                 Counsel for Northwest Renewable Energy Group, LLC
                                                 Bush Kornfeld LLP
                                                 601 Union St., Suite 5000
                                                 Seattle, WA 98101-2373
                                                 (206) 292-2110 Fax:(206) 292-2104
                                                 tbuford@bskd.com




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